                                IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF VIRGINIA
                                         ROANOKE DIVISION

                                   CRIMINAL MINUTES - BOND HEARING


  Case No.: 4:18-cr-12                                                Date: 12/19/2019


  Defendant: Tanasia Coleman, custody                               Counsel: Carolyn Furrow, CJA



  PRESENT:          JUDGE:                       Robert S. Ballou      TIME IN COURT: 8 min
                    Deputy Clerk:                K. Brown
                    Court Reporter:              K. Brown/FTR
                    U. S. Attorney:              Ron Huber
                    USPO:                        Mike Terry



                                                       BOND HEARING

           Bond hearing held.
           Government does not oppose bond.
           Bond set at Personal Recognizance. Written appearance bond and order setting conditions of release to
           follow.

  In addition to the standard conditions of release, the following special conditions of release are imposed:

           The defendant shall avoid contact outside the presence of his/her counsel with any alleged victims or
           potential witnesses regarding his/her case.
           The defendant shall report as directed by the probation officer, and shall promptly report any personal
           status changes to the probation officer: this shall include immediately reporting any contact by law
           enforcement officers regarding a criminal investigation or any additional criminal charges placed against
           the defendant; the defendant shall continue to reside at his/her current residence, and shall not change
           residences without first obtaining permission from the probation officer.
           The defendant shall abstain from excessive use of alcohol or any use or possession of any controlled
           substances unless prescribed by a licensed treating physician for a legitimate medical purpose.
           The defendant shall not possess a firearm or other dangerous weapon and shall reside in a residence free of
           such.
           The defendant shall submit to random drug and or alcohol testing as directed by the probation officer.
           The defendant shall not travel outside the Western District of Virginia without first obtaining permission
           from the probation officer.
           The defendant shall submit to warrantless search and seizure of his/her person and property as directed by
           the probation officer for the purpose of determining if he/she is in compliance with his/her conditions of
           pretrial release.
           The defendant shall actively seek and/or maintain employment.
           The defendant shall surrender his/her passport to the Probation Office to be held pending further order of
           the court; the defendant shall not apply to obtain a passport.
           The defendant shall not associate with any known users/possessors of illegal controlled substances and
           shall not be present in any location where illegal controlled substances are being used and/or distributed,
           unless approved by his/her supervising officer in cooperation with law enforcement officers.
           The defendant shall begin counseling/treatment program at his/her own expense.




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          The defendant shall allow the probation officer open communication with any treatment agencies or health
          care providers for the purpose of monitoring the defendant's compliance with all treatment requirements.
          All adults in home shall submit to warrantless search and seizure of person and property as directed by the
          probation officer.
          Defendant advised of penalties and sanctions for failure to appear and/or violating conditions of release.


  Additional Information:
  4:14
  Parties present and represented by counsel.
  Defendant is going to live with her attorney, Carolyn Furrow. Mrs. Furrow has some feelers out for jobs and has
           some plans for counseling.
  Government has no objection to the plan and only asks for continued supervision by probation.
  Court addresses defendant.
  Court sets bond. Live at the home of Mrs. Furrow, her attorney. No firearms. No travel outside WDVA. Begin a
           job search. Begin with counseling and follow any recommendations. Execute waiver for USPO to make
           sure deft is complying with treatment. No illegal drugs or substances. Drug screening at USPO discretion.
           No excessive alcohol. No contact with codefts or any known witnesses. Cooperate with USPO. Report
           contact with LEO’s. No passport.
  Defendant released on bond.
  Adjourned.
  4:22




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